Case 8:22-cr-00259-WFJ-AEP   Document 296-296   Filed 09/17/24   Page 1 of 24
                               PageID 5115




              U.S. District Court
            Middle District of Florida
                Tampa Division

           GOVERNMENT EXHIBIT

  Exhibit No.: 331

  Case No.: 8:22-cr-259-WFJ-AEP

  UNITED STATES OF AMERICA

  vs.

  OMALI YESHITELA, ET AL.


  Date Identified:                    __________

  Date Admitted:                   ____________
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296      Filed 09/17/24   Page 2 of 24
                                                    PageID 5116
                                             Tuesday, February 22, 2022


                               Hi, Yevgeniy.                                                            AI
                               Feb 22, 2022, 9:16 AM: Alexander Ionov




                               Are we meeting today or tomorrow?                                        AI
                               Feb 22, 2022, 9:17 AM: Alexander Ionov




       Hi, Sash! Well, today would be better, because considering the
YV     situation, you can't know for sure what tomorrow will bring)).
       Feb 22, 2022, 9:19 AM: Yevgeniy Vistoropskiy




YV     When is it good for you and where?
       Feb 22, 2022, 9:20 AM: Yevgeniy Vistoropskiy




                               So will you be able to stop by our place?                                AI
                               Feb 22, 2022, 9:20 AM: Alexander Ionov




                               We can by springs [sic].                                                 AI
                               Feb 22, 2022, 9:20 AM: Alexander Ionov




                               At Metropolis.                                                           AI
                               Feb 22, 2022, 9:20 AM: Alexander Ionov




                               Where Yegor and I usually eat.                                           AI
                               Feb 22, 2022, 9:20 AM: Alexander Ionov




       Media/79999887666@s.whatsapp.net/6/5/65d77c20-c724-4101-9e9f-
YV     ad9ae3ffaef3.jpg
       Feb 22, 2022, 9:21 AM: Yevgeniy Vistoropskiy
       (Message continues)
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296   Filed 09/17/24   Page 3 of 24
                                                    PageID 5117




YV




       Feb 22, 2022, 9:21 AM: Yevgeniy Vistoropskiy
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296      Filed 09/17/24   Page 4 of 24
                                                    PageID 5118


YV     Right there? Do I understand it right?
       Feb 22, 2022, 9:21 AM: Yevgeniy Vistoropskiy




                               Yes.                                                                     AI
                               Feb 22, 2022, 9:21 AM: Alexander Ionov




                               Only it's better by the Moscow Central Circle [MTsK/MCC].                AI
                               Feb 22, 2022, 9:21 AM: Alexander Ionov




                               25 minutes.                                                              AI
                               Feb 22, 2022, 9:21 AM: Alexander Ionov




                               And you exit straight into TU [sic].                                     AI
                               Feb 22, 2022, 9:22 AM: Alexander Ionov




YV     Let's do it.
       Feb 22, 2022, 9:22 AM: Yevgeniy Vistoropskiy




YV     What time?
       Feb 22, 2022, 9:22 AM: Yevgeniy Vistoropskiy




                               How about 18:00?                                                         AI
                               Feb 22, 2022, 9:22 AM: Alexander Ionov




                               Or earlier?                                                              AI
                               Feb 22, 2022, 9:22 AM: Alexander Ionov




YV     Well, let's do it at 17:20 or 17:30. Will that work?
       Feb 22, 2022, 9:22 AM: Yevgeniy Vistoropskiy
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296       Filed 09/17/24   Page 5 of 24
                                                    PageID 5119


                               Totally.                                                                  AI
                               Feb 22, 2022, 9:24 AM: Alexander Ionov




YV     Awesome.
       Feb 22, 2022, 9:24 AM: Yevgeniy Vistoropskiy




                               Media/79999887666@s.whatsapp.net/9/c/9cecdf54-f8d7-42ca-9c61-
                               4d31171c963e.webp                                                         AI




                               Feb 22, 2022, 9:27 AM: Alexander Ionov




                               Center for the Development of Cultural Initiatives, Autonomous Non-
                               Commercial Organization (hereinafter referred to as ANO TsRKI).           AI
                               Feb 22, 2022, 11:09 AM: Alexander Ionov




                               Do you know iz [sic]?                                                     AI
                               Feb 22, 2022, 11:09 AM: Alexander Ionov
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296       Filed 09/17/24   Page 6 of 24
                                                    PageID 5120

       Nah, Sash, I've never heard. Sash, we have an award ceremony at
YV     17:00. Is it OK if we reschedule to 18:30?
       Feb 22, 2022, 11:36 AM: Yevgeniy Vistoropskiy




                               Yes, let' do it.                                                          AI
                               Feb 22, 2022, 11:37 AM: Alexander Ionov




                               No problem.                                                               AI
                               Feb 22, 2022, 11:37 AM: Alexander Ionov




                               Media/79999887666@s.whatsapp.net/a/d/adacc199-5e78-401e-a8ee-
                               3420a5954e06.webp                                                         AI




                               Feb 22, 2022, 11:37 AM: Alexander Ionov




YV     [Emoji(s)]
       Feb 22, 2022, 11:37 AM: Yevgeniy Vistoropskiy
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296   Filed 09/17/24   Page 7 of 24
                                                    PageID 5121
                                           Wednesday, February 23, 2022


       Happy holiday!

YV     Media/79999887666@s.whatsapp.net/5/3/53ceac00-9e7a-43ef-a3de-
       2cf5269c8d67.jpg
       Feb 23, 2022, 6:45 AM: Yevgeniy Vistoropskiy
       (Message continues)
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296   Filed 09/17/24   Page 8 of 24
                                                    PageID 5122




YV




       Feb 23, 2022, 6:45 AM: Yevgeniy Vistoropskiy
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296      Filed 09/17/24   Page 9 of 24
                                                    PageID 5123

                               Good morning.                                                            AI
                               Feb 23, 2022, 7:50 AM: Alexander Ionov




                               Media/79999887666@s.whatsapp.net/c/2/c209da26-5354-405d-be9b-
                               a14a53839fbf.jpg                                                         AI




                               Feb 23, 2022, 7:50 AM: Alexander Ionov




YV     Good [morning]!
       Feb 23, 2022, 7:50 AM: Yevgeniy Vistoropskiy




                               Can we meet at 15:00 today?                                              AI
                               Feb 23, 2022, 7:50 AM: Alexander Ionov




YV     Yes, of course.
       Feb 23, 2022, 7:50 AM: Yevgeniy Vistoropskiy
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296        Filed 09/17/24    Page 10 of 24
                                                     PageID 5124


YV      At Metropolis?
        Feb 23, 2022, 7:51 AM: Yevgeniy Vistoropskiy




                                In that case, at Metropolis shopping center, second floor, Torro Grill.     AI
                                Feb 23, 2022, 7:51 AM: Alexander Ionov




YV      Copy that. I'll be there.
        Feb 23, 2022, 7:51 AM: Yevgeniy Vistoropskiy




                                Media/79999887666@s.whatsapp.net/1/d/1d53149d-566d-4784-9395-
                                f9483ccee6f9.webp                                                           AI




                                Feb 23, 2022, 7:52 AM: Alexander Ionov




                                Zhenya.                                                                     AI
                                Feb 23, 2022, 11:12 AM: Alexander Ionov
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296        Filed 09/17/24   Page 11 of 24
                                                     PageID 5125

                                Let's do it at 15:30.                                                      AI
                                Feb 23, 2022, 11:12 AM: Alexander Ionov




                                Because I'm running a little late.                                         AI
                                Feb 23, 2022, 11:12 AM: Alexander Ionov




                                Sorry.                                                                     AI
                                Feb 23, 2022, 11:12 AM: Alexander Ionov




YV      Alright.
        Feb 23, 2022, 11:13 AM: Yevgeniy Vistoropskiy




YV      Are you there, Sash?
        Feb 23, 2022, 12:28 PM: Yevgeniy Vistoropskiy




                                I'm on my way.                                                             AI
                                Feb 23, 2022, 12:28 PM: Alexander Ionov




                                How about you?                                                             AI
                                Feb 23, 2022, 12:28 PM: Alexander Ionov




YV      Here.
        Feb 23, 2022, 12:28 PM: Yevgeniy Vistoropskiy




                                Take a seat.                                                               AI
                                Feb 23, 2022, 12:29 PM: Alexander Ionov




                                Place an order.                                                            AI
                                Feb 23, 2022, 12:29 PM: Alexander Ionov
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296        Filed 09/17/24   Page 12 of 24
                                                     PageID 5126


                                It’ll take me ten minutes                                                  AI
                                Feb 23, 2022, 12:29 PM: Alexander Ionov




                                More or less.                                                              AI
                                Feb 23, 2022, 12:29 PM: Alexander Ionov




                                Oktyabrskoye Pole is at a standstill.                                      AI
                                Feb 23, 2022, 12:29 PM: Alexander Ionov




YV      OK.
        Feb 23, 2022, 12:29 PM: Yevgeniy Vistoropskiy




                                For good.                                                                  AI
                                Feb 23, 2022, 12:29 PM: Alexander Ionov




                                There is an accident by the tunnel.                                        AI
                                Feb 23, 2022, 12:29 PM: Alexander Ionov




                                Sorry.                                                                     AI
                                Feb 23, 2022, 12:29 PM: Alexander Ionov




YV      I'm still looking for it.
        Feb 23, 2022, 12:29 PM: Yevgeniy Vistoropskiy




YV      No problem.
        Feb 23, 2022, 12:29 PM: Yevgeniy Vistoropskiy




                                The second floor is across from Starbucks.                                 AI
                                Feb 23, 2022, 12:29 PM: Alexander Ionov
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296        Filed 09/17/24   Page 13 of 24
                                                     PageID 5127


YV      [Emoji(s)]
        Feb 23, 2022, 12:29 PM: Yevgeniy Vistoropskiy




YV      Have you made a reservation, Sash?
        Feb 23, 2022, 12:36 PM: Yevgeniy Vistoropskiy




YV      It's all completely packed.
        Feb 23, 2022, 12:36 PM: Yevgeniy Vistoropskiy




                                No.                                                                        AI
                                Feb 23, 2022, 12:37 PM: Alexander Ionov




                                It's usually empty.                                                        AI
                                Feb 23, 2022, 12:37 PM: Alexander Ionov




                                [Emoji(s)]                                                                 AI
                                Feb 23, 2022, 12:37 PM: Alexander Ionov




YV      Well, it's the 23rd today.
        Feb 23, 2022, 12:37 PM: Yevgeniy Vistoropskiy




                                How about the one next to it?                                              AI
                                Feb 23, 2022, 12:37 PM: Alexander Ionov




YV      The confectionery?
        Feb 23, 2022, 12:38 PM: Yevgeniy Vistoropskiy




                                Yes.                                                                       AI
                                Feb 23, 2022, 12:38 PM: Alexander Ionov
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296        Filed 09/17/24   Page 14 of 24
                                                     PageID 5128


                                Just take a seat at any.                                                   AI
                                Feb 23, 2022, 12:38 PM: Alexander Ionov




                                I’m flying.                                                                AI
                                Feb 23, 2022, 12:38 PM: Alexander Ionov




        Media/79999887666@s.whatsapp.net/6/0/609d1e3d-3439-4556-a435-
        4052362249e9.docx
YV
        [Document]
        Feb 23, 2022, 2:00 PM: Yevgeniy Vistoropskiy




YV      That's Kalinin's example.
        Feb 23, 2022, 2:00 PM: Yevgeniy Vistoropskiy




        Media/79999887666@s.whatsapp.net/3/d/3dc5d156-a0e6-4682-b37f-
        cca8138f4b98.docx
YV
        [Document]
        Feb 23, 2022, 2:01 PM: Yevgeniy Vistoropskiy




YV      Tsargrad's example.
        Feb 23, 2022, 2:01 PM: Yevgeniy Vistoropskiy




                                I appreciate it.                                                           AI
                                Feb 23, 2022, 2:01 PM: Alexander Ionov




YV      [Emoji(s)]
        Feb 23, 2022, 2:01 PM: Yevgeniy Vistoropskiy


                                              Thursday, February 24, 2022


                                We didn't let you sleep                                                    AI
                                Feb 24, 2022, 4:38 AM: Alexander Ionov
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296       Filed 09/17/24     Page 15 of 24
                                                     PageID 5129


YV      Hahaha
        Feb 24, 2022, 4:39 AM: Yevgeniy Vistoropskiy




YV      Hi! Not really, these are our normal hours of operation
        Feb 24, 2022, 4:39 AM: Yevgeniy Vistoropskiy




                                Good morning)                                                                AI
                                Feb 24, 2022, 4:39 AM: Alexander Ionov




                                It's terrible                                                                AI
                                Feb 24, 2022, 4:39 AM: Alexander Ionov




                                Human rights activist Marina Litvinovich called on all those against the
                                military operation in Donbass to take to the streets of their city centers
                                at 19:00 in order to stage a protest. 'We'll be facing the consequences
                                of this for years to come. Not even us. But our children and                 AI
                                grandchildren. Empires do not fall apart quickly and painlessly: when
                                dying, they drag into the grave everyone within their reach ,' wrote
                                Litvinovich.
                                Feb 24, 2022, 8:50 AM: Alexander Ionov




YV      Isn't she yours?
        Feb 24, 2022, 8:50 AM: Yevgeniy Vistoropskiy




                                [She is] not ours                                                            AI
                                Feb 24, 2022, 8:50 AM: Alexander Ionov




                                [She is] anything but ours                                                   AI
                                Feb 24, 2022, 8:50 AM: Alexander Ionov




                                And a totally bad woman                                                      AI
                                Feb 24, 2022, 8:51 AM: Alexander Ionov
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296        Filed 09/17/24     Page 16 of 24
                                                     PageID 5130


YV      That's it, I have read it
        Feb 24, 2022, 8:51 AM: Yevgeniy Vistoropskiy




YV      I got it, thank you
        Feb 24, 2022, 8:51 AM: Yevgeniy Vistoropskiy




                                Media/79999887666@s.whatsapp.net/a/f/af176725-ffbd-4665-99ef-
                                629d9c1ed9b0.webp                                                            AI




                                Feb 24, 2022, 8:51 AM: Alexander Ionov




                                It has been reported that those who conduct a pro-Ukraine campaign
                                in the Russian Federation [RF], with all that it entails, will be arrested
                                in the near future. It is about prominent Russian mass media, media          AI
                                and bloggers.
                                Feb 24, 2022, 10:37 AM: Alexander Ionov




                                Really?                                                                      AI
                                Feb 24, 2022, 10:37 AM: Alexander Ionov
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296        Filed 09/17/24   Page 17 of 24
                                                     PageID 5131


YV      We haven't heard
        Feb 24, 2022, 10:38 AM: Yevgeniy Vistoropskiy




YV      But there is a mass of people calling for a rally at 19:00
        Feb 24, 2022, 10:38 AM: Yevgeniy Vistoropskiy




                                That's Litvinovich                                                         AI
                                Feb 24, 2022, 10:38 AM: Alexander Ionov




                                [She] is seeking publicity                                                 AI
                                Feb 24, 2022, 10:38 AM: Alexander Ionov




YV      Well, Center E agents [eshniki] will apprehend her, clearly
        Feb 24, 2022, 10:39 AM: Yevgeniy Vistoropskiy




                                Media/79999887666@s.whatsapp.net/4/b/4be478d4-d2b9-4e02-96cf-
                                6e2d37cbb1af.webp                                                          AI
                                Feb 24, 2022, 10:39 AM: Alexander Ionov
                                (Message continues)
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296        Filed 09/17/24   Page 18 of 24
                                                     PageID 5132




                                                                                                           AI




                                Feb 24, 2022, 10:39 AM: Alexander Ionov




                                It sucks                                                                   AI
                                Feb 24, 2022, 10:39 AM: Alexander Ionov




                                Yet another publicity stunt                                                AI
                                Feb 24, 2022, 10:40 AM: Alexander Ionov




YV      Well, there's no other way
        Feb 24, 2022, 10:40 AM: Yevgeniy Vistoropskiy




                                Media/79999887666@s.whatsapp.net/c/9/c905e432-c57a-4c7c-9075-
                                790c8140ed8a.webp                                                          AI
                                Feb 24, 2022, 11:01 AM: Alexander Ionov
                                (Message continues)
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296        Filed 09/17/24   Page 19 of 24
                                                     PageID 5133




                                                                                                           AI




                                Feb 24, 2022, 11:01 AM: Alexander Ionov




                                It is quiet for some reason                                                AI
                                Feb 24, 2022, 1:13 PM: Alexander Ionov




                                Regarding the undesirables                                                 AI
                                Feb 24, 2022, 1:13 PM: Alexander Ionov




        Media/79999887666@s.whatsapp.net/3/c/3ca2e726-9a52-451b-9e2f-
YV      ed3166609fd8.jpg




        Feb 24, 2022, 1:14 PM: Yevgeniy Vistoropskiy
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296       Filed 09/17/24   Page 20 of 24
                                                     PageID 5134


YV      A decision has been made
        Feb 24, 2022, 1:14 PM: Yevgeniy Vistoropskiy




YV      We are just waiting
        Feb 24, 2022, 1:14 PM: Yevgeniy Vistoropskiy




YV      Well, this is not to be posted
        Feb 24, 2022, 1:14 PM: Yevgeniy Vistoropskiy




YV      [Emoji(s)]
        Feb 24, 2022, 1:14 PM: Yevgeniy Vistoropskiy




                                Media/79999887666@s.whatsapp.net/0/b/0bbfd66f-68bc-46a7-8848-
                                40304a2eb761.webp                                                         AI




                                Feb 24, 2022, 1:14 PM: Alexander Ionov
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296       Filed 09/17/24    Page 21 of 24
                                                     PageID 5135


                                We are waiting                                                               AI
                                Feb 24, 2022, 1:14 PM: Alexander Ionov




                                Everyone is waiting                                                          AI
                                Feb 24, 2022, 1:14 PM: Alexander Ionov




                                !! Irina Dolinina, who is a reporter for Vazhnye Istorii, and an operator,
                                with whom Ira was filming a news report, in the city of Shakhty (Rostov
                                Oblast), on local residents and refugees from the Luhansk and Donetsk
                                People’s Republics [LDNR], have been detained.

                                THIS MESSAGE (MATERIAL) WAS CREATED AND (OR)                                 AI
                                DISSEMINATED BY A FOREIGN MASS MEDIA OUTLET
                                PERFORMING THE FUNCTIONS OF A FOREIGN AGENT AND (OR)
                                A RUSSIAN LEGAL ENTITY PERFORMING THE FUNCTIONS OF A
                                FOREIGN AGENT
                                Feb 24, 2022, 1:23 PM: Alexander Ionov




        So here's the question: for some reason JDN was recognized but
YV      OCCRP was not. But our folks believe that OCCRP is part of JDN
        Feb 24, 2022, 1:31 PM: Yevgeniy Vistoropskiy




                                That's right                                                                 AI
                                Feb 24, 2022, 1:31 PM: Alexander Ionov




                                That's what we asked for                                                     AI
                                Feb 24, 2022, 1:31 PM: Alexander Ionov




YV      Well, in that case, it's awesome
        Feb 24, 2022, 1:32 PM: Yevgeniy Vistoropskiy




                                JDN is, in fact, OCCRP                                                       AI
                                Feb 24, 2022, 1:32 PM: Alexander Ionov




                                Should I do the document today?)                                             AI
                                Feb 24, 2022, 5:46 PM: Alexander Ionov
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296          Filed 09/17/24   Page 22 of 24
                                                     PageID 5136

                                Does anyone need it over there?)))                                           AI
                                Feb 24, 2022, 5:46 PM: Alexander Ionov




YV      Haha, of course, it's needed
        Feb 24, 2022, 5:47 PM: Yevgeniy Vistoropskiy




                                Dang)                                                                        AI
                                Feb 24, 2022, 5:47 PM: Alexander Ionov


                                                Friday, February 25, 2022


                                Media/79999887666@s.whatsapp.net/9/1/91dd0869-a52a-48a5-ab9f-
                                361e4024762d.jpg                                                             AI




                                Feb 25, 2022, 9:48 AM: Alexander Ionov




                                Next, we shout the topic                                                     AI
                                Feb 25, 2022, 9:48 AM: Alexander Ionov




YV      And views.
        Feb 25, 2022, 9:49 AM: Yevgeniy Vistoropskiy
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296       Filed 09/17/24   Page 23 of 24
                                                     PageID 5137

                                Media/79999887666@s.whatsapp.net/b/7/b703fc74-be04-45b0-9a3d-
                                883a8f815c18.webp                                                         AI




                                Feb 25, 2022, 9:49 AM: Alexander Ionov




YV      The guys definitely see.
        Feb 25, 2022, 9:49 AM: Yevgeniy Vistoropskiy




        Media/79999887666@s.whatsapp.net/5/3/53d411b9-1fa1-4c17-8fb0-
YV      9d235dffd044.webp
        Feb 25, 2022, 9:49 AM: Yevgeniy Vistoropskiy
        (Message continues)
     Case 8:22-cr-00259-WFJ-AEP                   Document 296-296        Filed 09/17/24   Page 24 of 24
                                                     PageID 5138




YV




        Feb 25, 2022, 9:49 AM: Yevgeniy Vistoropskiy




                                We accelerate it to the best of our abilities.                             AI
                                Feb 25, 2022, 9:49 AM: Alexander Ionov




                                In an hour I will give the Anti-War Coalition.                             AI
                                Feb 25, 2022, 9:49 AM: Alexander Ionov


                                               Thursday, March 17, 2022


                                Hi.                                                                        AI
                                Mar 17, 2022, 10:34 PM: Alexander Ionov




                                I'll send the paper closer to 10:30.                                       AI
                                Mar 17, 2022, 10:34 PM: Alexander Ionov
